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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

IN RE

GULF MEDICAL SERVICES, INC.,                 CASE NO. 18-30012-JCO
                                             CHAPTER 11
     Debtor.
________________________________

IN RE

KENNETH R. STEBER,                           CASE NO. 18-30639-JCO
                                             CHAPTER 11
     Debtor.
________________________________

IN RE

STEPHEN JERNIGAN,                            CASE NO. 18-31084-JCO
                                             CHAPTER 11
     Debtor.
_____________________________________________________________

   ORDER GRANTING DEBTORS’ MOTION TO ADMINISTRATIVELY
               CONSOLIDATE CASES (Doc. 128, 49 and 7)
_____________________________________________________________

      THIS CAUSE having come before the Court upon the motion of the above-

named Debtors to administratively consolidate cases (Doc.128, 49 and 7), and good

cause having been otherwise shown for such joint administration, the Court finds as

follows:

      1.    The Debtors are affiliates or are jointly liable on a substantial portion

of the same debts.
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      2.     Joint administration is in the best interests of the estates because it will

be less costly and better assure proper notice is given to all persons who may have

an interest in the outcome of these cases.

      3.     The creditors of the separate estates can be protected from any adverse

efforts of jointly administering the cases.

      4.     There are common creditors which will make it more efficient to

administer the cases jointly.

      5.     The ability to reorganize these debts is interrelated. The success or

failure of one may have a material bearing on the success of the others.

      Based upon the foregoing findings, it is

      ORDERED AND ADJUDGED that the Motion for Joint Administration is

GRANTED subject to the terms and to the extent provided as follows:

      1.     These cases shall be jointly administered for procedural purposes only;

they are not substantively consolidated.

      2.     All pleadings, papers, reports and schedules to be filed in the above-

captioned cases shall be filed with the caption of this Order and shall be filed in the

case of Gulf Medical Services, Inc, Case No.: 18-30012-JCO, except for the

pleadings, motions, applications, schedules, papers, proof of claims and documents

described in paragraph number 4 below.
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       3.     Each pleading, motion, application, order, notice and other paper

(except those described below) shall be deemed to have been filed in all of the above-

referenced cases and each such pleading, motion, application, notice, order, and

other paper shall be served upon all parties-in-interest in all of the above-referenced

cases except to the extent service is not required by the Bankruptcy Code, the

Bankruptcy Rules or by the Order of this Court;

       4.     The following pleadings, motions, applications, schedules, lists,

notices, statements and other papers shall be filed separately in the appropriate case:

       (a)    creditors’ proofs of claim;

       (b)    schedules and statements of affairs and any amendments thereto;

       (c)    monthly operating reports;

       (d)    applications for the employment of professionals;

       (e)    fee applications

       (f)    any adversary proceedings filed by or against any of the Debtors.

       The Clerk of the Bankruptcy Court shall maintain separate files for each case

on the pleadings, motions, applications, schedules, lists, statements and other papers

described in the paragraph immediately above.

       5.     When filing proofs of claims, each creditor shall file a proof of claim

in the separate case in which they assert their claim and shall file such proof of claim

with the caption of the case in which it is to be filed. If any creditor asserts a claim in
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both cases, or any combination thereof, such creditor shall file separate claims in each

case with the caption of such case (and only the caption of such case) in the proof of

claim.

Dated: December 18, 2018




Order prepared by:
J. Steven Ford
Attorney, J. Steven Ford, is directed to serve a copy of this order on interested
parties and file a proof of service within three (3) days of the entry of the order.
